                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                     Case No. 3:21-mj-4149
 v.

 RICCARDO PAOLO SPAGNI,                              Magistrate Judge Alistair E. Newbern

         Defendant.


                                               ORDER

        Magistrate Judge Newbern received the following email addressed to her chambers email

account on August 3, 2021, at 4:11 a.m. The email has been forwarded to all counsel of record and

is reproduced in full below. Counsel shall remind their clients and all associated parties not to

communicate with the Court by any means other than filings made in the Court record.

From: jkhg4ki8env7 <jkhg4ki8env7@protonmail.com>
Sent: Tuesday, August 03, 2021 4:11 AM
To: joe.montminy@usdoj.gov; mary.jane.stewart@usdoj.gov; Chambers Newbern
<Newbern_Chambers@tnmd.uscourts.gov>
Subject: Regarding Riccardo Spagni

CAUTION - EXTERNAL:


I thought you might like to know that Riccardo Spagni was a prominent attendee at the Bitcoin
conference on 4-5 June in Miami this year.

https://decrypt.co/73396/bitcoin-2021-miami-conference-covid-fiat-immoral-evil-money

You’ll see a photo of him with Paris Hilton in the article above. He does not seem worried enough about
COVID to avoid packed nightclubs and big crowds. The conference was infamously a COVID super-
spreader event.

P.S. The $880K Richard Mille watch is not the only one in his collection. Here’s another one worth
$730K. His car collection includes a 458 Ferrari Spider valued at $260K, as well as a Lamborghini, among
others.
 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
 when opening attachments or clicking on links.




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  It is so ORDERED.



                                       ____________________________________
                                       ALISTAIR E. NEWBERN
                                       United States Magistrate Judge




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